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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,                             Case No. 21-20104
                                              Honorable Laurie J. Michelson
 v.

 JORDON SWITZER,

       Defendant.


              PRETRIAL ORDER REGARDING SCHEDULING
                      AND DISCOVERY ISSUES


      Jordon Switzer has been charged with child pornography offenses arising out

of the alleged “sextortion” of a teenager who resides in the Eastern District of

Michigan. (ECF No. 1.)

      The trial is currently scheduled for April 4, 2023. (ECF No. 58.) The parties,

however, are still dealing with two discovery issues. One pertains to Switzer’s

pending motion to compel the early production of the victim’s recorded forensic

interview under a protective order. (ECF No. 60.) The government opposes the

motion. (ECF No. 62.) The Court heard oral argument on March 1, 2023 and took the

motion under advisement. The Court also gave the parties until March 8, 2023, to

final supplemental briefs of no more than five pages.

      The second issue pertains to extractions of the victim’s cellphone by Switzer’s

expert. If the parties are not able to resolve this issue, Switzer shall file a motion no

later than March 17, 2023, and the government shall respond by March 24, 2023.
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      Thus, to give the parties adequate time to resolve these issues and prepare for

trial, the April 4, 2023, trial date is hereby adjourned to May 11, 2023. The Court

further finds that the ends of justice served by this continuance outweigh the

interests of the public and the defendant in a speedy trial and will exclude from the

speedy trial clock the time from April 4, 2023 through May 11, 2023. See 18 U.S.C. §

3161(h)(1) & (7).

      SO ORDERED.

      Dated: March 2, 2023


                                       s/Laurie J. Michelson
                                       LAURIE J. MICHELSON
                                       UNITED STATES DISTRICT JUDGE




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